         Case 1:16-cr-00229-BAH Document 133 Filed 06/11/24 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                            :    CRIMINAL NO. 16-CR-229 (BAH)
                                                     :
                v.                                   :
                                                     :
 RUBEN OSEGUERA GONZALEZ,
                                                     :
      also known as “Menchito,”                      :
      “Rubencito,” “Rojo,” “Ruso,”                   :
      “Junior,” and “El nino,”                       :
                                                     :
                         Defendant.


              NOTICE OF SUBSTITUTION OF GOVERNMENT COUNSEL

       The United States of America, by and through the Chief of the Narcotic and Dangerous

Drug Section of the Criminal Division, United States Department of Justice, hereby informs the

Clerk of this court and all parties of record that Lernik Begian, Trial Attorney of the Narcotic and

Dangerous Drug Section, is substituting Government counsel of record Cole Radovich, who can

be terminated as Government counsel in this case.

                                                         Respectfully Submitted,

                                                         MARLON COBAR, Chief
                                                         Narcotic and Dangerous Drug Section
                                                         Criminal Division
                                                         United States Department of Justice

                                              By:          /s/Lernik Begian         .
                                                         Lernik Begian
                                                         Trial Attorney
                                                         Narcotic and Dangerous Drug Section
                                                         Criminal Division
                                                         U.S. Department of Justice
                                                         145 N Street, NE
                                                         Washington, D.C. 20530
                                                         Tel.: (202) 616-2379
                                                         Email: Lernik.Begian@usdoj.gov

                                                 1
         Case 1:16-cr-00229-BAH Document 133 Filed 06/11/24 Page 2 of 2




                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was sent via ECF to the Defendant’s counsel
on record this 11th day of June 2024.

                                                      /s/ Lernik Begian         .
                                                    Lernik Begian
                                                    Trial Attorney
                                                    Narcotic and Dangerous Drug Section
                                                    Criminal Division
                                                    Department of Justice




                                               2
